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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW HAMPSHIRE

LOCAL 8027, AFT-NEW HAMPSHIRE, AFL-CIO, RYAN                                 )
RICHMAN, JOHN DUBE and JOCEYLN MERRILL,                                      )
teachers in the New Hampshire Public Schools, and                            )
KIMBERLY GREEN ELLIOTT and MEGHAN EVELYN                                     )
DURDEN, parents or guardians of children in the New                          )
Hampshire public schools.                                                    )
               Plaintiffs,                                                   )
                          v.                                                 )
FRANK EDELBLUT, in his Official Capacity as                                  )
Commissioner of the DEPARTMENT OF EDUCATION                                  )
(“DOE”), CHRISTIAN KIM in his Official Capacity as the                       )
Chair of the NEW HAMPSHIRE COMMISSION ON                                     )
HUMAN RIGHTS, and JOHN FOMELLA in his Official                               )
Capacity as ATTORNEY GENERAL of the State of New                             )
Hampshire.                                                                   )
               Defendants.                                                   )
--------------------------------------------------------------------------   )   Civil No. 1:21-cv-01077-PB
ANDRES MEJIA,                                                                )
CHRISTINA KIM PHILIBOTTE, and                                                )
NATIONAL EDUCATION ASSOCIATION-NEW                                           )
HAMPSHIRE,                                                                   )
               Plaintiffs,                                                   )
                          v.                                                 )
FRANK EDELBLUT, in his official capacity only as the                         )
Commissioner of the New Hampshire Department of                              )
Education,                                                                   )
JOHN M. FORMELLA, in his official capacity only as the                       )
Attorney General of the State of New Hampshire,                              )
AHNI MALACHI, in her official capacity only as the                           )
Executive Director of the New Hampshire Commission for                       )
Human Rights,                                                                )
CHRISTIAN KIM, in his official capacity                                      )
only as the Chair of the New Hampshire Commission for                        )
Human Rights,                                                                )
KEN MERRIFIELD, in his official capacity only as the                         )
Commissioner of the Department of Labor,                                     )
               Defendants.                                                   )



        AFT PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO DEFENDANTS’ MOTION
                                TO DISMISS
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                                        PRELIMINARY STATEMENT

           AFT Plaintiffs 1 submit this Sur-Reply in further support of their Opposition to Defendants’

Motion to Dismiss Counts II-IV of the AFT Complaint (“AFT Opp.” ECF Doc. # 46). The entirety

of Defendants’ briefing rests on the unsupported premise that the State has unfettered discretion

to restrict teachers’ speech inside and outside the classroom. Perhaps recognizing that this position

is untenable, Defendants’ Reply to the AFT Plaintiffs’ Separate Objection to the Defendants’

Motion to Dismiss (“Reply” ECF Doc. # 49), is replete with baseless procedural assertions that

AFT Plaintiffs lack standing and that Ward v. Hickey, 996 F.2d 448 (1st Cir. 1993), does not

control because the issue of teachers’ First Amendment rights was not explicitly briefed by the

parties in that case. These unfounded diversions are an attempt to avoid a substantive and

meaningful response to AFT Plaintiffs’ well-pled allegations that the Statute’s exceedingly broad

scope infringes on students’ right to receive information and teachers’ curricular, extra-curricular,

and private speech. 2 Defendants’ silence is also deafening with respect to the judicially-proscribed

heightened risk to AFT Plaintiffs’ First Amendment rights given the evident vagueness of the

Statute. See AFT Opp. at 7 (citing Grayned v. City of Rockford, 408 U.S. 104, 109 (1972), 408

U.S. 104, 109 (1972) (“where a vague statute ‘abuts upon sensitive areas of basic First Amendment

freedoms,’ it ‘operates to inhibit the exercise of (those) freedoms,’” implicating stricter review 3).



1
    Unless otherwise defined, the capitalized terms herein adopt the definitions set forth in the AFT Opp.
2
 Many of the arguments set forth in the AFT Opposition have been entirely ignored by the Defendants. For
example, Defendants offer no response to AFT Plaintiffs’ argument that there is no mention in the legislative record
of specific unaddressed discrimination in New Hampshire that the Statute sough to remedy. See AFT Opp. at 23.
And the Defendants’ submissions make no effort to fill that void. That studied silence is telling, and further
discovery will prove the point.

3
  See Smith v. People of the State of California, 361 U.S. 147, 151 (1959) (“stricter standards of permissible
statutory vagueness may be applied to a statute having a potentially inhibiting effect on speech.”); see also Rideout
v. Gardner, 123 F. Supp. 3d 218, 234 (D.N.H. 2015) (Barbadaro, J.), aff’d 838 F.3d 65 (1st Cir. 2016) (Where a law
is either over-inclusive or under-inclusive or where it “covered far more material than necessary to accomplish its
goal” it fails that stricter test).
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         Neither does Defendants’ argument that the Statute does not implicate teachers’ First

Amendment rights survive following the Supreme Court’s recent decision in Kennedy v.

Bremerton Sch. Dist., 142 S. Ct. 2407 (2022) (“Kennedy”). That decision reaffirmed, contrary to

Defendants’ suggestion, that teachers have First Amendment rights to express themselves within

the school. The Statute’s restrictions, which extend beyond instruction and “to all activities carried

out by public schools . . . including extra-curricular activities” are plainly unconstitutional. See,

e.g., Mejia Compl., Ex. 19 at 5. Defendants’ blanket assertion that the Statute “do[es] not purport

to reach private speech,” while simultaneously declining to address the Statute’s incitement of

online harassment, bounty hunters, and threats to teachers’ personal safety outside the classroom,

is emblematic of the “head in the sand” approach to the Statute’s overreach. See AFT Opp. at 20,

Joint Submission Ex. B.4

         Finally, Defendants entirely ignore their heightened burden to justify the Statute’s ex ante

prohibition on present and future speech under United States v. Nat’l Treasury Emp’s Union, 513

U.S. 454 (1995) (“NTEU”). Instead of satisfying this more exacting standard, Defendants seek to

deflect from the law’s partisan legislative history directly modelled on former President Trump’s

Executive Order 13950, “Combatting Race and Sex Stereotyping.” Meritless procedural hurdles

cannot shield this case from judicial review, and, in particular, discovery confirming the Statute’s

illegality, by, for example, illustrating how it has been used to improperly chill instructional speech

and deprive students of the constitutionally guaranteed education here legally mandated and

statutorily delineated. See, e.g., N.H. Rev. Stat. Ann. (“RSA”) 189:11(j), 193-E:2-a; N. H. Code.



4
  As for the State’s repeated suggestion “not to worry” since it will allegedly enforce the Statute responsibly and
fairly, Chief Justice Roberts aptly observed, in writing for the Court in United States v. Stevens, “the First
Amendment protects against the Government; it does not leave us at the mercy of noblesse oblige. We would not
uphold an unconstitutional statute merely because the Government promised to use it responsibly.” 559 U.S. 460,
480 (2010).


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Admin. R. Ed 306.46; see also Londonderry Sch. Dist. SAU No. 12 v. State, 154 N.H. 153, 156-

158 (2006). 5 Defendants’ Motion should be denied and discovery permitted to proceed, followed

by summary judgment.

                                               ARGUMENT

1.      Parents Alone Can Sue To Ensure That Their Children’s Right to Receive
        Information Is Adequately Protected

        In a transparent attempt to side-step AFT Plaintiffs’ substantive arguments that the Statute

deprives their children of the right to receive information, Defendants raise meritless procedural

arguments that parents lack standing to argue that their children have been deprived of their First

Amendment right to receive information. See Reply at 8-9. Countless federal courts have held

that parents can sue to vindicate the rights of their school children, including their right to receive

information, without expressly indicating that the case is brought on behalf of their children. See

Parents Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 718 (2007) (parents have

standing to seek relief for their elementary and middle school children who may be “denied

admission to the high schools of their choice when they apply for those schools in the future”);

Liddell v. Special Admin. Bd. of Transitional Sch. Dist. of City of St. Louis, 894 F.3d 959, 965–66

(8th Cir. 2018) (“Parents have standing to sue when practices and policies of a school threaten

their rights and interests and those of their children.”). The suggestion that this case must be

brought directly by students or parents explicitly on behalf of their children is therefore wholly

unfounded. Indeed, Roberts v. Hillsborough Mills, 85 N.H. 517, 519 (1932), T.W. by Enk v.

Brophy, 124 F.3d 893 (7th Cir. 1997) and Fed. R. Civ. P. 17(c), cited by the Defendants, stand for




5
  See Claremont School Dist. v. Governor, 142 N.H. 462, 469, 472-474 (1997); see also Contoocook Valley Sch.
Dist. v. State, 174 N.H. 154 (2021). As Contoocook and Londonderry make clear, RSA 189:11(j) was enacted as
(and remains) a constitutional and judicial imperative for compliance with the adjudicated challenges of the
Claremont trilogy and its progeny.


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the unremarkable proposition that a minor child cannot bring suit in court without the assistance

of a competent adult. See Reply at 8-9. None of Defendants’ cases indicate that a parent does not

have standing to sue to protect the rights of their school-age children. See Reply at 9. Thus,

Defendants’ request for a more arduous pleading standard should be rejected. 6

         Moreover, Defendants’ assertion that “their complaint only purports to bring claims on

behalf of the plaintiffs themselves, not their children,” is without merit.                       See Reply at 8.

Defendants ignore the well-pled allegations showing that the Statute deprives New Hampshire

students of access to diverse texts and discussions based on partisan ideology lacking any

legitimate pedagogical purpose. See AFT Opp. at 18. Specifically, the Complaint alleges that:

         •    The Statute deprives New Hampshire students of their constitutional right to an
              adequate education (AFT Compl. at ¶ 2);
         •    New Hampshire parents, too, are entitled to send their children to school, expecting a
              full and robust exchange of ideas in the classroom uncorrupted by censorship and
              extremist partisanship (AFT Compl. at ¶ 4);
         •    Plaintiff Elliott believes the Statute will prevent her son from receiving a full and robust
              education. Since the Statute was passed Ms. Elliott has observed a noticeable
              difference in the breadth of education her son receives (AFT Compl. at ¶ 10);
         •    Plaintiff Durden believes the Statute will prevent her daughter from receiving a full and
              robust education (AFT Compl. at ¶ 11);
         •    Every day that debate is stifled, the students of New Hampshire suffer, and are put at a
              competitive disadvantage in a complex, multi-cultural world (AFT Compl. at ¶ 59).

         Defendants’ failure to address the direct applicability of Bd. of Educ., Island Trees Union

Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 866-68 (1982) to the instant facts is also telling. See

AFT Opp. at 15-16. Pico and its progeny plainly preclude Defendants’ actions to enforce a Statute

that quite deliberately and based on partisan beliefs restricts students’ access to information. See

AFT Opp. at 16-19. Notably, Defendants do not refute the pall of orthodoxy prompting the



6
  To the extent the Court agrees with Defendants that AFT Plaintiffs lack standing to assert a right to receive
information claim for their children, AFT Plaintiffs should be granted leave to amend their complaint.


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Statute’s passage based on President Trump’s unsuccessful Executive Order, or the absence of any

specific discrimination in New Hampshire necessitating the Statute. See AFT Opp. at 19, 23. As

indicated, “[a]t the very least, additional discovery is needed to ascertain whether HB2 is narrowly

partisan and motivated by political orthodoxy.” AFT Opp. at 19.

2.     Defendants Ignore Controlling Authority Protecting The Free Speech Rights of
       Teachers

       efendants
       A.     D Cannot Sidestep Controlling First Circuit First Amendment Precedent
              And Recent Supreme Court Caselaw Protecting The Free Speech Rights of
              Teachers

       That “several federal courts of appeals have applied Garcetti’s reasoning to pedagogical

and curricular speech,” see Reply at 4, does not change the fact that the First Circuit has not done

so. See AFT Opp. at 8-9 (“[T]he Garcetti limitation upon First Amendment protections simply

does not apply in cases such as this” where, as Justice Kennedy specifically stated for the Garcetti

majority, the Court’s analysis and holding do not apply to “scholarship or teaching”) (Garcetti v.

Ceballos, 547 U.S. 410, 425 (2006)); see id. at 10 (“Tellingly absent from Defendants’ recitation

of Garcetti is any First Circuit case involving the application of Garcetti to teachers in the

classroom”). Defendants do not address AFT Plaintiffs’ Opposition discussing cases from the

Fourth, Sixth, and Ninth Circuits declining to extend Garcetti in schools. See AFT Opp. at 10.

Neither is Defendants’ reliance on Alberti v. Carlo-Izquierdo, 548 F. App’x 625 (1st Cir. 2013),

involving a family nurse practitioner working at a university applicable here. Like Decotiis v.

Whittemore, 635 F.3d 22 (1st Cir. 2011), cited by Defendants in their moving papers and Reply,

Alberti is not applicable here because the speech at issue was made by a nurse practitioner, not a

teacher in the classroom. See AFT Opp. at 11. As we have made clear, Tinker v. Des Moines

Indep. Cmty. Sch. Dist., 383 U.S. 503 (1969) and Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S.




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260 (1988) make schools doctrinally distinct from other government employees and New

Hampshire has effectively excluded teachers from Garcetti’s reach. 7

           The First Circuit’s Ward analysis, as Defendants concede, operates from “the assumption

that a teacher’s classroom speech is entitled to some First Amendment protection” under Tinker.

See Reply at 2. The need for briefing in Ward was obviated by the longstanding principle that

teachers retain First Amendment rights. Defendants have not offered a justified reason for ignoring

the application of Ward here. 8 Thus, the Statute can only survive constitutional muster where the

“regulation is reasonably related to a legitimate pedagogical concern and the school provided the

teacher with notice of what conduct was prohibited.” Ward, 996 F.2d at 452 (internal quotation

marks and citations omitted). As illustrated, Defendants cannot satisfy either hurdle. See AFT

Opp. at 11-13; supra, note 5.

           Just last month, the Supreme Court reaffirmed Tinker by stating that: “[O]ur precedents

remind us that the First Amendment’s protections extend to ‘teachers and students,’ neither of

whom ‘shed their constitutional rights to freedom of speech or expression at the schoolhouse

gate.’” Kennedy, 142 S. Ct. at 2423 (quoting Tinker, 393 U.S. at 506). In Kennedy, the Court held

that Bremerton School District violated a football coach’s First Amendment rights when they fired

him after he prayed with students on the football field. With respect to the application of Garcetti

to teacher speech, the Court specifically stated that both parties “appear to accept, at least for

argument’s sake, that Mr. Kennedy’s speech does not raise questions of academic freedom that



7
  The 4-3 majority in Garcetti, 547 U.S. 410 rested its public employee speech restriction on the premise that such
employees have implicitly agreed to waive that fundamental right to speech in return for public employment and its
intentional speech restriction. See Garcetti, supra, 418-419. Here, the employer has by statute (RSA §189:11(j))
negated any such implicit waiver by mandating that the employee teach that which is here sought to be throttled;
indeed, the employee faces dismissal for failure to do so (RSA §189:13(j)). Thus, by statute and unlike Garcetti,
New Hampshire commands, it does not proscribe, teacher speech in the relevant areas.
8
    Griswold v. Driscoll, 616 F.3d 53 (1st Cir 2010), which Defendants misconstrue, is addressed at n.16 of AFT Opp.


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may or may not involve ‘additional’ First Amendment ‘interests’ beyond those captured” by the

Garcetti-Pickering framework. Kennedy, 142 S. Ct. at 2424. Thus, Garcetti, and certainly the

Garcetti precedent alone, still does not control on the pertinent question here—when the First

Amendment protects speech made by teachers in the classroom. See AFT Opp. at 8-9; see also

Buchanan v. Alexander, 919 F.3d 847, 852 (5th Cir. 2019) (finding that the “Supreme Court has

established that academic freedom is a special concern of the First Amendment, which does not

tolerate laws that cast a pall of orthodoxy over the classroom” and subsequently applying the

Pickering analysis) (internal quotation marks and citations omitted). 9

           To the extent this Court finds that Garcetti (or some combination of Garcetti and

Pickering) apply, the Kennedy decision strikes directly at the cases, cited by Defendants in their

Motion, holding that all speech of primary and secondary school teachers is without First

Amendment protection. See Memorandum of Law in Support of to Dismiss (ECF Doc. # 36) at

18 (citing Mayer v. Monroe Cnty. Cmty. Sch. Corp., 474 F.3d 477 (7th Cir. 2007). The Kennedy

Court flatly rejected the assertion that the prayer was undertaken as part of the coach’s official

duties, holding that the Ninth Circuit erred by “treating everything teachers and coaches say in the

workplace as government speech subject to government control.” See Kennedy, 142 S. Ct. at 2425.

           The Supreme Court’s expansion of free speech rights for public employees in schools

applies with equal force here. Like a coach praying at a football game, the Statute here sweeps

broadly beyond the four walls of the classroom to extracurricular activities. While Defendants

claim that the Statute applies only to curricular speech, the guidance documents make clear that

the Statute not only covers “instruction” but also “advocat[ing],” and not only in the classroom

setting but also at “all school activities.” See Mejia Compl., Ex. 19 at 5. Accordingly, the Supreme



9
    Pickering v. Bd. of Educ. of Twp. High Sch. Dist. 205, Will Cnty., Ill., 391 U.S. 563 (1968). See also, fn. 7, supra.


                                                             7
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Court’s finding that a coach’s three prayers on the football field were not speech within the scope

of his official duties under Garcetti necessarily raises the following questions when considering

how the instant Statute is being enforced:

          •    What if a teacher wants to organize a drive for displaced Ukrainians after school and
               “advocates” against the Russian government and its oppression?
          •    What if instead of kneeling to pray a coach took a knee during the national anthem
               because of his or her views about existing structural racism in this country?
          •    What if a teacher wears a “Buffalo Strong” t-shirt to a soccer game in support of the
               individuals murdered in Buffalo at the hands of a white supremacist?

          Kennedy suggests the foregoing would be private citizen speech separate and apart from a

teacher’s official duties; yet, the Statute would preclude such speech. See Kennedy, 142 S. Ct. at

2425 (“Nor is it dispositive that Mr. Kennedy’s prayers took place ‘within the office’

environment—here, on the field of play.”). Moreover, Kennedy’s call for an inquiry undertaken

“practically, rather than with a blinkered focus on the terms of some formal and capacious written

job description,” confirms the need for further discovery to assess whether the Statute, in practice,

prohibits private citizen speech bearing on matters of public concern. See Kennedy, 142 S. Ct. at

2424; see also AFT Opp. at 14-15. “To proceed otherwise would be to allow [Defendants] to use

‘excessively broad job descriptions’ to subvert the Constitution's protections.” Kennedy, 142 S.

Ct. at 2424.

          B.
          efendants
                 D Tellingly Make No Effort to Rebut AFT Plaintiffs’ Well                      -Pled
                 Arguments That The Statute Is Overbroad And Reaches Private Speech

          Defendants’ argument that the Statute “do[es] not purport to reach private speech” based

solely on their own conjecture is contrary to the facts of this case. See Reply at 9. Defendants fail

to rebut the AFT’s Complaint and Opposition demonstrating that the Statute implicates private

speech:




                                                   8
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       •    AFT Plaintiffs have been the subject of online harassment, obscenities and vicious
            attacks (AFT Compl. at ¶¶ 3, 8);
       •    The constant specter of bounty hunters (AFT Compl. at 4);
       •    Fear for personal safety, requiring the installation of personal security and safety
            equipment in his home (AFT Compl. at ¶ 8);
       •    Private right of action turns citizen on citizen and encourages surveillance and
            vigilantism (AFT Compl. at ¶ 57).

Indeed, absent discovery, Defendants’ self-serving conjecture is belied by documents already

before this Court. See, e.g., AFT Opp. at 20, Joint Submission Ex. B.

       Finally, Defendants entirely overlook AFT Plaintiffs’ reliance on NTEU governing prior

restraints, like the Statute, limiting future speech. See AFT Opp. at 22-23. Thus, Defendants fail

to show how the Statute addresses “real, not merely conjectural” harms and that the “regulation

will in fact alleviate these harms in a direct and material way.” See id. (quoting NTEU, 513 U.S.

at 475). Nothing in Defendants’ Reply negates the AFT Plaintiffs’ significant showing that the

Statute’s passage was prompted by efforts to engage in “wholesale silencing of uncomfortable

ideas based on narrowly partisan interests.” Id. at 23. Defendants also cannot and do not rebut

the Statute’s particularly suspect overbreadth as to all age groups and multitude topics inside and

outside the classroom without showing any legislative efforts to tailor a specific ban to students’

educational needs. See id. at 23-24. No showing is made that the Statute is narrowly or even

reasonably tailored to a legitimate pedagogical interest.




                                                 9
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                                         CONCLUSION

       For the foregoing reasons, Defendants’ Motion should be denied, and this case should

proceed to discovery to assess the Statute’s continuing assault on teachers’ free speech rights.

Dated: July 22, 2022



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